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   Chapter 8
   List Maintenance

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   8. List Maintenance

         REFERENCE                                          ADDITIONAL RESOURCES
         ELECT's Annual List Maintenance Reports            EAC Fact Sheet: List Maintenance and NVRA


   8.1   CHAPTER ORGANIZATION
         Federal law (the National Voter Registration Act, hereafter “NVRA”) requires each state to have a
         program that makes a reasonable effort to remove the names of ineligible voters from the official
         list of registered voters. 1 Virginia meets this requirement in part through the Code of Virginia
         §24.2-427, which requires the general registrar to cancel registrations under certain conditions. 2
         These processes are called list maintenance.
         This chapter seeks to equip elections officials with the background, law, and practical “how-to” to
         follow list maintenance practices that comply with federal and state laws. §8.1 defines
         maintenance and list data sources such as the Department of Motor Vehicles and Central Criminal
         Records Exchange which ELECT is required to provide general registrars. §8.2 shows the federal
         law underpinning Virginia’s VERIS list maintenance system and introduces the topics of §8.3 and
         §8.4, the cancellation and confirmation programs.

           Definition of List Maintenance
           List maintenance is the process by which elections officials retain accurate and current lists of
           registered voters. The basic framework for list maintenance is set forth in Article 5 of Chapter 4
           of Title 24.2. 3 These provisions implement the NVRA. 4
           The Department of Elections must promptly provide, and general registrars must act upon
           within 30 days, information regarding list maintenance (deceased, moved outside locality of
           residence, felony conviction, adjudication of incapacity, declared noncitizen who has not timely
           affirmed U.S. citizenship, other disqualification provided by law). 5

           ELECT Information Exchange
           The Department of Elections must receive, review, and provide to registrars the following
           information:
                  • A monthly list of all persons convicted of a felony during the preceding month and a
                      comprehensive annual list of all persons ever convicted of a felony from Virginia’s
                      Central Criminal Records Exchange (CCRE); 6
                  • a weekly list of all persons 17 years of age or older who have died in the
                      Commonwealth from the Virginia Department of Health; 7



   1
     See the “National Voter Registration Act” 52 USC §20507(a)(4).
   2
     See the Code of Virginia §24.2-427.
   3
     See the Code of Virginia §24.2-427 et seq.
   4
     NVRA, 52 USC §20501 et seq.
   5
     See the Code of Virginia §24.2-404(A)(4).
   6
     See the Code of Virginia §24.2-409.
   7
     See the Code of Virginia §24.2-408.
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                    •   duplicate registrations identified from comparing other states’ registration and
                        voting information with annual reporting8 to the General Assembly which can be
                        found online at Voter List Maintenace Report webpage.
                    •   information exchanges with other state election officials. 9

           Restoration of Rights
           Registrars also have increased responsibilities to detect and remove felons and determine
           restoration of rights. The Code of Virginia §24.2-427 requires general registrars to conduct a pre-
           election review “within 21 to 14 days before any primary or general election”.10

   8.2   FEDERAL AND STATE LAWS GOVERNING LIST MAINTENANCE

           National Voter Registration Act (“NVRA”)
           NVRA mandates that each state develops and maintains programs to ensure accurate and
           current voter registration rolls. These list maintenance programs are required to be uniform,
           nondiscriminatory and in compliance with the Voting Rights Act. 11 NVRA does not permit a list
           maintenance system to remove the name of a voter from the list because of failure to vote, to
           prohibit selective or discriminatory voter removal practices. NVRA divides the required list
           maintenance programs into two major areas: cancellations and confirmations.

           VERIS List Maintenance: Confirmation and Cancellation
           As per the Code of Virginia §24.2-404(1), list maintenance programs requirements of NVRA are
           managed through the Virginia Election and Registration Information System (“VERIS”). 12
           Through VERIS, it is possible to add or cancel registrants, maintain records of “Active” and
           “Inactive” voters, generate reports of transactions and activity, track the origin of registration
           applications, maintain records of confirmation mailings, and interface with other State
           agencies. 13




   8
     See LIS Reports to the General Assembly, required as per the Code of Virginia §24.2-404 (F), report pending.
   9
     See Code of Virginia §24.2-404.4.
   10
      See Code of Virginia §24.2-427.
   11
      See Voting Rights Act of 1965, 51 U.S.C. §10101 et seq.
   12
      See Code of Virginia §24.2-404.
   13
      See GREB Chapter 9 (Records Access and Retention) (providing details on what records are available for public
   inspection and copying).
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         8.2.2.1    Voter Confirmation Program
                    NVRA requires each state to conduct “regular periodic reviews”, which are maintenance
                    programs to identify voters who may have moved from their address of registration. 14
                    The Code of Virginia §24.2-428 implements NVRA by requiring an annual systematic
                    review of the voter registration records to identify voters who may have moved without
                    notifying the general registrar. 15 This review will not immediately cancel a voter from the
                    registration rolls, but does initiate the process for confirming residence addresses.

         8.2.2.2    Voter Cancellation Program
                    Under the Code of Virginia §24.2-428, if a response to the “Confirmation Notice” is not
                    received “in thirty days after it is sent to the voter, the registered voter's name shall be
                    placed on inactive status”. 16 This applies to registrants that were either identified by the
                    general registrar, processed from data received from DMV, or identified through the
                    National Change of Address (NCOA) match as having moved within or outside their
                    locality of registration. 17
                    Voters on “Inactive” status in VERIS can be returned to “Active” status by a voter-
                    initiated action. Actions such as change of address, re-registration, or voting in an
                    election can reactivate the voter.
                    Voters who fail to respond to an address confirmation request and fail to take any voter-
                    initiated action for two federal elections will have their voter registration cancelled in
                    the NVRA cancellation program. This cancellation function is automated in VERIS and
                    occurs after each November federal election.
                    Pursuant to §24.2-703.1(D), “A voter shall be removed from the permanent absentee
                    voter list if… the voter's registration is placed on inactive status pursuant to § 24.2-
                    428 or 24.2-428.1.” 18 VERIS does not automatically cancel or expire a voter's Permanent
                    AB application when the voter's registration is inactivated due to non-response to NCOA
                    mailings. Voters on the Permanent Absentee List whose registration status is set to
                    "Inactive" due to non-response to NCOA mailings will need to have their Permanent AB
                    applications manually cancelled by the locality that approved their Permanent AB
                    application.




   14
      See 52 USC §20507(a)(4)(B).
   15
      See Code of Virginia §24.2-428.
   16
      Id.
   17
      See 52 USC §20507(d)(2)(A)
   18
      See Code of Virginia §24.2-703.1(D).
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   8.3   CANCELLATION PROGRAM

           Deceased Voters
           The name of a person who is known to be deceased must be removed from the voter
           registration rolls. 22 In order to know that a voter is deceased for purposes of cancellation, local
           registrars should receive reliable information that provides certainty of the death. There are
           many sources that provide such information, including:
                    •   Confirmation of death by deceased voter’s family or estate (Requires the ELECT
                        427B Form) 23
                    •   Confirmation of death by registrar or deputy registrar who personally knows the
                        deceased voter (Requires the ELECT 427B Form)
                    •   Records from the State Registrar of Vital Records processed through the hopper.
                    •   Records from local health officials
                    •   A death certificate.
                    •   An obituary posted in a newspaper distributed within the locality or on a website of
                        a licensed funeral home (Requires the registrar or deputy to complete the ELECT
                        427B Form)
                    •   NAPHSIS requests submitted to ELECT via JIRA Ticket

           The Code of Virginia §24.2-404.3 requires ELECT to compare the voter lists with records
           belonging to the Bureau of Vital Statistics and the Social Security Administration (SSA). The
           Department of Elections complies with the requirement to match the SSA death list annually by
           October 1. 24 Additionally, the State Registrar of Vital Records is required to transmit a weekly list
           of all persons 17 years of age or older, who have died in the Commonwealth, electronically to
           the Department of Elections for list maintenance purposes. 25 The VERIS “Hopper” and “Agency
           Updates” screens will reflect this information and the following steps should be taken for
           processing:




   22
      See 52 USC §20507 (a)(4)(A). See Code of Virginia §24.2-427(B).
   23
      See ELECT-427 Registration Report of Death of Registered Voter.
   24
      See Code of Virginia §24.2-404.3.
   25
      See Code of Virginia §24.2-408.
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         Error
         A general registrar on occasion may need to cancel voter registrations in VERIS to correct
         administrative error. Administrative corrections that do not actually cancel a voter do not
         require notice. When making corrections, please note the following types of cancellations:

                 •   If, after approving registration, the general registrar discovers evidence of
                     ineligibility such as omission of citizenship or a felony conviction without restoration
                     and, if confirmation of registration has not been sent, the registrar may cancel a
                     voter and re-enter the information correctly using the following steps:

                     o   Delete the voter using the VERIS “Change Status” screen. Select cancel for the
                         reason of “Registrar Error,” or “Ineligible.” Important supporting information
                         can be entered in the “Comment” section.
                     o   Re-enter the voter’s information into VERIS and deny for the appropriate
                         reason. This action will automatically generate the required correspondence to
                         be sent to the voter listing the reason(s) for the denial. Delete any generated
                         correspondence regarding an approval created in error.

                 Non-VERIS Steps for Hard-Copy Applications
                    o Mark the box provided for “Denied” on the back of the application.
                    o If a box is not provided, record the information on the lower right corner on the
                       back of the application.
                    o Scan the documentation and attach to the denied VERIS record.
                    o Attach the documentation for the removal to the back of the application form
                       or keep this information in a separate file.
                    o File the application in the “Denied” file.
                    o Retain and destroy application and attached documentation in compliance with
                       the GS-01 Records Retention and Disposition Schedule.
                    o Mail the notice of denial generated by VERIS, stating the reason(s) for removal
                       and any comments entered when processing the cancellation/denial.

                 •   If, after approving the registration and mailing correspondence confirming
                     registration, the general registrar discovers evidence of ineligibility such as a felony
                     without restoration, then the regular cancellation process under §24.2-427 must be
                     followed. This requires the general registrar to mail notice of cancellation and the
                     right of appeal to the voter. Follow these steps:

                     o   Remove the voter using the VERIS “Change Status” screen. Select “Registrar
                         Error,” or “Ineligible” as the reason to cancel the voter. Important supporting
                         information can be entered in the “Comment” section.
                     o   Notate the back of the application “Error Deleted.”
                     o   File the application in the “Deleted” file.
                     o   Scan the documentation and attach to the cancelled VERIS record.
                     o   Attach appropriate documentation to the back of the application or keep the
                         documentation in a separate file.



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                     •   Mail the notice of cancellation generated by VERIS, stating the reason for removal
                         and any comments entered when processing the cancellation. Notice of the
                         cancellation must also be provided by email if one was provided. 41

            Non-Citizen
            Each month the Department of Motor Vehicles (DMV) is required to furnish to Department of
            Elections a complete list of all persons who have indicated that they are not a United States
            citizen to DMV. 42 The Department of Elections will transmit that information to the appropriate
            general registrar. When notification is received, the following steps should be taken. 43

                     •   The general registrar is required to mail a notice of pending cancellation to each
                         registered voter identified by DMV as a non-citizen. The voter is given 14 days from
                         the date the notice was mailed to return a signed statement affirming citizenship.
                     •   If the notice is returned as complete and affirmed, mark the voter as affirmed in
                         VERIS and scan and attach the Affirmation to the voter’s VERIS record.
                     •   VERIS will automatically cancel the registration of any voter who does not respond
                         to the notice within 21 days.
                     •   Non-citizen cancellations are processed through the “Hopper.” Determine if a
                         registered voter matches the non-citizen information provided by the Department
                         of Elections. If so, use “Cancel Voter” to approve the match and cancel the voter’s
                         registration. Individual voters may also be cancelled through the “Change Status”
                         screen. On the “Change Status” screen, select “Declared Non-Citizen” for the reason
                         and place important supporting information in the “Comment” section.

            Non-VERIS Steps for Hard-Copy Applications
                  • Notate the reason for the cancellation on the back of the application.
                  • Scan and attach documentation to cancelled VERIS record.
                  • Attach appropriate documentation to the back of the application or keep the
                       documentation in a separate file.
                  • Retain and destroy the application and attached documentation in compliance with
                       the GS-01 Records Retention and Disposition Schedule.
                  • Mail the notice of cancellation generated by VERIS, stating the reason for removal
                       and any comments entered when processing the cancellation. Notice of the
                       cancellation must also be provided by email if one was provided. 44




   41
      See Code of Virginia §24.2-427(B).
   42
      See Code of Virginia §24.2-410.1 (B).
   43
      See Code of Virginia §24.2-427 (B)(1).
   44
      See Code of Virginia §24.2-427(B).
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   8.4    CONFIRMATION PROGRAM

            Why Request Confirmation
            Several factors can trigger the requirement to request a voter confirm his or her registration.
            These are discussed below and include the U.S. Postal Service’s “National Change of Address”
            program analysis, a notification of out of state activity reported by the Department of Motor
            Vehicles, or a discrepancy noted in a voter address.
            Please note that cancellation may incidentally result from this process if the voter fails to
            respond to a confirmation request or take other specified action for two general federal
            elections. 45
            Cancellations under any list maintenance program must be made no later than 90 days before
            the date of the next federal primary or general election. 46

          8.4.1.1   U.S. Postal Service’s “National Change of Address”
                    Many states, including Virginia, use the U.S. Postal Service's National Change of Address
                    (“NCOA”) program to systematically analyze their voter registration records. 47 At least
                    once a year, the Department of Elections uses the information in the NCOA database
                    registry to match the voter registration addresses of all “Active” registrants in VERIS with
                    USPS addresses. Any voter whose residence address listed in VERIS does not match the
                    address listed with USPS is scheduled to be sent by “forwardable” mail a “Confirmation
                    Notice” to confirm his/her residence address information.

          8.4.1.2   DMV Notification of Out-of-State
                    Several other activities provide reasons to request a confirmation notice be sent to a
                    voter in addition to the NCOA postal match confirmation process. One such reason is
                    notification that the voter has relocated.
                    Each month VERIS receives an updated electronic file from DMV of persons who have
                    surrendered their Virginia driver’s license indicating relocation to another state. VERIS
                    will automatically search for any potential matches of registered voters in the electronic
                    file from DMV. The potential matches will appear in the VERIS “Hopper” for the locality.
                    After reviewing the record, the general registrar may select the record that is a match.
                    This will initiate a request for a “Confirmation Notice” to be sent to the voter.

          8.4.1.3   Address Discrepancy
                    Another reason to request confirmation of a voter’s address is the indication of an
                    address discrepancy. General registrars can request a confirmation notice be sent to a
                    registrant based upon reliable information indicating that the registrant has moved. This
                    includes official mail returned as undeliverable or an address on a candidate petition
                    that differs from the address of voter registration. The general registrar may also
                    request a confirmation but should do so only if information warranting inquiry as to
                    residence is discovered.




   45
      See Code of Virginia §24.2-428.2.
   46
      See 52 USC §20507(C)(2)(A).
   47
      See Code of Virginia §24.2-428 (defining Virginia’s procedures).
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         overview of ELECT’s list maintenance practices, please visit the website and review the yearly list
         maintenance reports found here. 57




   57
     See Department of Elections website, Voter Registration and List Maintenance,
   https://www.elections.virginia.gov/resultsreports/maintenance-reports/
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